       Case 3:22-cv-02261-MMC Document 1 Filed 04/11/22 Page 1 of 2

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 8                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

 9                              NORTHERN DISTRICT OF CALIFRONIA

10                                              Civil Division
11
       JESSE GUZMAN,                                     Case No.:
12
                         Plaintiff,
13
              v.                                         COMPLAINT FOR DAMAGES ARISING
14                                                       FROM DENTAL MALPRACTICE
                                                         COMMITTED BY FEDERAL EMPLOYEE
15
       UNITED STATES OF AMERICA,
16                                                       DEMAND FOR JURY TRIAL
                        Defendant.
17
                                      I. PARTIES TO THIS COMPLAINT
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            1.      Plaintiff JESSE GUZMAN is a citizen of the United States of America residing
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     within the City of San Jose, County of Santa Clara at all times relevant to this Complaint.
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            2.      Plaintiff has complied with the required Federal Tort Claims Act requirements
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     before filing this lawsuit as well as the statutory pre-filing notice requirements under California
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     law.
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            3.      Defendant is the UNITED STATES OF AMERICA, which pursuant to 42 U.S.C.
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     section 233 has been deemed to be the employer, by and through the Department of Public
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     Health Services, of Bryant W. Lee, D.D.S. and Tri-City Health Center a.k.a. Bay Area
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     Community Health with respect to said defendants’ acts and omissions committed against
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     Plaintiff JESSE GUZMAN on or about or about February 8, 2021 while said employees were
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     acting within the course and scope of said employment when such acts and omissions were

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      COMPLAINT FOR DAMAGES ARISING FROM DENTAL MALPRACTICE COMMITTED BY FEDERAL EMPLOYEE
       Case 3:22-cv-02261-MMC Document 1 Filed 04/11/22 Page 2 of 2

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     committed, as further alleged below.
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                                     II. BASIS FOR JURISDICTION
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            4. The Court has subject matter jurisdiction over this matter pursuant to 28 U.SC.
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     1346(b)(1) and 42 U.S.C. section 233(c).
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                                      III. STATEMENT OF CLAIM
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                                                  (Negligence)
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            5. On or about February 8, 2021, Plaintiff JESSE GUZMAN presented to Dr. Bryant W.
 8
     Lee at the Tri-City Health Center a.k.a. Bay Area Community Health in San Jose California,
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     County of Santa Clara for a tooth extraction procedure.
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            6. During the procedure, Dr. Bryant W. Lee negligently extracted the wrong tooth and
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     failed to remove the correct tooth leaving plaintiff in prolonged pain and suffering, including the
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     permanent loss of a healthy tooth, enduring a second procedure to remove the infected tooth, and
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     forcing him to receive a tooth implant to replace the healthy tooth that was removed.
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            7. Said acts or omissions of Dr. Bryant W. Lee fell below the applicable standard of care
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     a reasonably prudent dentist owed to plaintiff.
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            8. As a legal and proximate result of said negligence, Plaintiff has suffered personal and
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     economic injury in the form of actual, consequential, and general damages.
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                                                  IV. RELIEF
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            WHEREFORE, plaintiff respectfully asks the Court to award him lost wages,
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     consequential damages, general damages and any other relief the court may deem appropriate
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     upon a finding of liability against Defendant.
22
                                     V. DEMAND FOR JURY TRIAL
23          Plaintiff hereby requests a jury trial in this matter.

24   DATED: April 11, 2022                            CAMARENA LAW OFFICE, A.P.C.

25

26                                          By:     ________________________________
                                                    Ignascio G. Camarena II,
27                                                  Attorney for Plaintiff JESSE GUZMAN

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      COMPLAINT FOR DAMAGES ARISING FROM DENTAL MALPRACTICE COMMITTED BY FEDERAL EMPLOYEE
